                Case 24-12480-JTD           Doc 697       Filed 01/09/25       Page 1 of 1




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

 In re:                                                   Chapter 11

 FRANCHISE GROUP, INC., et al.,                           Case No. 24-12480 (JTD)

                          Debtors.                        (Jointly Administered)




                     MOTION AND ORDER FOR ADMISSION PRO HAC VICE
         Pursuant to Local Rule 9010-1 and the certification below, counsel hereby moves the admission
pro hac vice of Brad M. Kahn of Akin Gump Strauss Hauer & Feld LLP, proposed special counsel for
Michael J. Wartell, as independent director and sole member of the conflicts committees of the boards of
directors of Freedom VCM Interco, Inc. and Freedom VCM, Inc., in the above-captioned cases and any
related proceedings.
Dated: January 9, 2025
                                                  /s/ Michael D. DeBaecke
                                                  ASHBY & GEDDES, P.A.
                                                  Michael D. DeBaecke (Bar No. 3186)
                                                  500 Delaware Avenue, 8th Floor
                                                  Wilmington, DE 19801
                                                  Tel: (302) 654-1888
                                                  Email: mdebaecke@ashbygeddes.com

               CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE
         Pursuant to Local Rule 9010-1, I certify that I am eligible for admission to this Court, am admitted,
practicing and in good standing as a member of the Bar of the State of New York, and submit to the
disciplinary jurisdiction of this Court for any alleged misconduct which occurs in the preparation or course
of these cases. I also certify I am generally familiar with this Court’s Local Rules and with the Standing
Order for District Court Fund revised 12/21/23. I further certify the annual fee of $50.00 has been paid to
the Clerk of Court for District Court.
Dated: January 9, 2025                            /s/ Brad M. Kahn
                                                  AKIN GUMP STRAUSS HAUER & FELD LLP
                                                  Brad M. Kahn
                                                  One Bryant Park
                                                  New York, NY 10036-6745
                                                  Tel: (212) 872-1000
                                                  Email: bkahn@akingump.com


                              ORDER GRANTING MOTION
          IT IS HEREBY ORDERED counsel’s motion for admission pro hac vice is granted.
